                            Case:14-04375-jtg             Doc #:70 Filed: 05/04/18               Page 1 of 2
                                               United States Bankruptcy Court
                                               Western District of Michigan
In re:                                                                                                     Case No. 14-04375-jtg
Andrea J. Averill                                                                                          Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0646-1                  User: admin                        Page 1 of 1                          Date Rcvd: May 02, 2018
                                      Form ID: domsup                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 04, 2018.
db             +Andrea J. Averill,   13396 Lime Lake Dr.,   Sparta, MI 49345-9523

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 04, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 2, 2018 at the address(es) listed below:
              Brett N. Rodgers   ecf@rodgersch13.com, ecfbnrbackup@trustee13.com
              John D. Stoddard   on behalf of Creditor   Wells Fargo Dealer Services
               bankruptcy@fabriziobrook.com
              Marla A. Skeltis   on behalf of Creditor   Fifth Third Mortgage Company mskeltis@rsmalaw.com,
               bankruptcy@rsmalaw.com
              Stephen C. Corwin   on behalf of Debtor Andrea J. Averill Admin@corwinlawyers.com
                                                                                            TOTAL: 4
                           Case:14-04375-jtg                Doc #:70 Filed: 05/04/18                  Page 2 of 2
Form DOMSUP (12/13)
                                                   United States Bankruptcy Court
                                                    Western District of Michigan
                                                        One Division Ave., N.
                                                              Room 200
                                                       Grand Rapids, MI 49503


 IN RE: Debtor (name used by the debtor in the last 8 years,
 including married, maiden, trade, and address):
                                                                                         Case Number 14−04375−jtg
           Andrea J. Averill
           13396 Lime Lake Dr.                                                           Chapter 13
           Sparta, MI 49345−0186
           SSN: xxx−xx−4738                                                              Honorable John T. Gregg
                                                                  Debtor



                                     NOTICE OF REQUIREMENT TO FILE CERTIFICATE
                                     REGARDING DOMESTIC SUPPORT OBLIGATIONS

     You are hereby notified that ALL Chapter 13 debtor(s) upon completion of all plan payments must file a
certification with the Court stating either that (i) they are not liable for any domestic support obligations; or
(ii) all domestic support obligations payable by them that became due on or before the date of the
certification (including amounts due before the petition was filed, but only to the extent provided for by the
plan) under any judicial or administrative order, or by statute, have been paid pursuant to 11 U.S.C. §
1328(a).

    Failure to file the attached certificate indicating that all domestic support obligations have been paid or
that the debtor(s) is(are) not liable for domestic support obligations within 30 days of the date of service of
this notice may result in the case being closed without entry of a discharge.




Dated: May 2, 2018

1 Aliases for Debtor Andrea J. Averill : fka Andrea J. Crane, fka Andrea J. Wagenmaker
